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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                          CIVIL ACTION NO:

   SARABETH DEMARTINO,

                   Plaintiff,
         v.                                                   JURY TRIAL DEMANDED

   EMPIRE HOLDINGS AND
   INVESTMENTS, LLC; and JUAN
   CARLOS MARRERO,

               Defendants
   ___________________________________/

                                            COMPLAINT

         Plaintiff, SARABETH DEMARTINO (“DeMartino” or “Plaintiff”), brings this action and

  Complaint for damages and demand for jury trial against Defendants, EMPIRE HOLDINGS AND

  INVESTMENTS, LLC (“Empire”) and JUAN CARLOS MARRERO (“Marrero”) (collectively,

  “Defendants”), and states as follows:

                                  PRELIMINARY STATEMENT

         1.     This action is about a dedicated and experienced manager in the fitness industry

  who was terminated by her employer when she was eight months pregnant.

         2.     Plaintiff Sarabeth DeMartino worked for Town Sports International (“TSI”) for

  approximately ten years and transitioned to work at Empire under the former CEO of TSI, Patrick

  Walsh, in 2021, as the General Manager of the Christie’s Fitness location in Vero Beach, FL.

         3.     In October 2021, Ms. DeMartino disclosed that she was pregnant.

         4.     Following the disclosure, Ms. DeMartino’s new supervisor, Juan Carlos Marrero,

  issued Ms. DeMartino her first performance write up in ten years, unfairly scrutinized her work

  and started looking for a replacement for Ms. DeMartino.

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         5.      On March 1, 2022, Ms. DeMartino was abruptly terminated from her position

  without any final warning.

         6.      At the time of termination, Ms. DeMartino was eight months pregnant and only a

  few weeks before she was scheduled to take approved FMLA leave.

         7.      Ms. DeMartino’s termination is blatant violation of the pregnancy and medical

  leave laws that are designed to protect pregnant workers.

                                             PARTIES

         8.      Plaintiff, Sarabeth DeMartino, is a resident of Indian River County, Florida. She is

  a former, full-time employee who worked for Defendant from February 1, 2021 until she was

  terminated on March 1, 2022.

         9.      At all times material hereto, Plaintiff was an “employee” and/or “covered

  employee” of Defendant within the meaning of Title VII and the FMLA because she worked at

  least 1,250 hours in the 12 months prior to her leave and worked in a location that employed 50 or

  more employees within a 75-mile radius.

         10.     Defendant, Empire Holdings and Investments, LLC, is a foreign limited liability

  company with its principal place of business located in Palm Beach County, Florida.

         11.     Defendant, Juan Carlos Marrero, was Defendant Empire’s Regional Business

  Manager and Plaintiff’s direct supervisor, who possessed the authority to take tangible

  employment actions against Plaintiff.

         12.     At all times material times hereto, Defendants were an “employer” and/or “covered

  employer” within the meaning of Title VII and/or FMLA.




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                                   JURISDICTION AND VENUE

          13.    The jurisdiction of this Court is invoked pursuant to Title VII of the Civil Rights

  Act of 1964, as amended by the Pregnancy Discrimination Act of 1978 (“Title VII”), 42 U.S.C. §

  2000e et seq., and the Family Medical Leave Act (“FMLA”), 29 U.S.C. § 2601 et seq. As such,

  the Court has original jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §

  1331.

          14.    This Court has supplemental jurisdiction over Plaintiff’s claim arising under the

  Florida Civil Rights Act of 1992 (“FCRA”), Fla. Stat. §§ 760.01-760.11, pursuant to 28 U.S.C. §

  1367, as this claim is so related to Plaintiff’s Title VII claim that it forms part of the same case or

  controversy.

          15.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

  part of the events or omissions giving rise to this action occurred within this judicial district.

                              ADMINISTRATIVE PREREQUISITES

          16.    On April 20, 2022, Plaintiff filed a Charge of Discrimination with the Equal

  Employment Opportunity Commission (“EEOC”), cross-filed with the Florida Commission on

  Human Relations (“FCHR”), alleging unlawful pregnancy discrimination in violation Title VII

  and the FCRA.

          17.    On August 15, 2022, Plaintiff was issued a Notice of Right to Sue from the EEOC

  and timely brings this action within 90 days of the notice.

          18.    Pursuant to FCRA § 760.11(8), Plaintiff will seek leave to amend this Complaint to

  include claims under the FCRA after 180 days have passed without there being a determination by

  the FCHR on whether reasonable cause exists.




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                                     STATEMENT OF FACTS

  I.     Background

         19.     Ms. DeMartino has over a decade of experience working the fitness industry and

  knows what is expected from employees who work in the industry.

         20.     Prior to working for Empire, Plaintiff had worked for Town Sports International

  (“TSI”) for approximately ten years.

         21.     TSI was acquired by, and ultimately separated from, Empire Holdings and

  Investments, LLC in early 2021.

         22.     At TSI, Plaintiff began in an entry level position and worked her way up to Regional

  Business Manager before becoming the General Manager of Christie’s Fitness under Defendant

  Empire’s employ.

         23.     In February 2021, Ms. DeMartino relocated from New York to Florida to work as

  the General Manager of Christi’s Fitness (“Christie’s” or the “Club”), one of several fitness clubs

  owned and operated by Defendant.

         24.     Christie’s has certain unique features that distinguish it from Defendant’s other

  facilities, including a recreational and competitive children’s gymnastics program that accounts

  for nearly fifty percent of its membership sales. It also has a Junior Olympic sized swimming pool

  in addition to offering traditional fitness memberships.

  II.    Ms. DeMartino Discloses Her Pregnancy

         25.     In October 2021, Plaintiff notified Leah Molino, Head of Human Resources, and

  Anthony Messina, Vice President of Empire Holdings and Investments, LLC, that she was four

  months pregnant.




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          26.     Upon notifying Ms. Molino of her pregnancy, Plaintiff inquired about taking

  FMLA and/or maternity leave.

          27.     On October 11, 2021, Plaintiff asked Ms. Molino if Empire had an employee

  handbook and was told it did not have one.

          28.     Also, in October, 2021, Juan Carlos Marrero was promoted to Empire’s Regional

  Business Director and became Plaintiff’s direct supervisor. Initially, Mr. Marrero was nice to

  Plaintiff and generally supportive of the challenge she faced in making Christie’s a profitable

  fitness club.

          29.     On October 14, 2021, Plaintiff told Mr. Marrero that she was pregnant.

          30.     After disclosing her pregnancy to Mr. Marrero, Mr. Marrero began picking on

  Plaintiff and treating her differently than he had before he learned that she was pregnant.

          31.     Around the same time, Plaintiff learned that the gymnastics foam pit would need to

  be closed for construction.

          32.     What was supposed to be a weekend renovation resulted in the complete closure of

  the gymnastics program from November 2021 through February 2022.

          33.     Defendant understood that closing the gym would impact Christie’s profitability,

  but that doing so was both necessary and out of Plaintiff’s control.

          34.     Unfortunately, despite the incredible difficulties the Club was experiencing, Mr.

  Marrero refused to support Ms. DeMartino and instead focused his attention on newer clubs that

  were already performing well.

          35.     Mr. Marrero told Plaintiff that she was doing the best she could and he was doing

  everything he could to support her, but Ms. DeMartino learned that Mr. Marrero behind her back




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  was blaming her for issues that were outside of her control, like the closure of the gymnastics

  facility that accounted for fifty percent of its membership sales.

          36.    Mr. Marrero’s visits to Christi’s were unannounced – and on the days when he

  knew that Plaintiff was off the premises – as a means to raise questions about her dedication and

  work ethic.

          37.    It became apparent that Mr. Marrero was trying to find a reason to fire Ms.

  DeMartino and wanted her to fail.

          38.    Ms. DeMartino was so disheartened by Mr. Marrero blaming her for things outside

  of her control, and for which Empire was fully aware, that, over the next several months, she

  complained to HR about his mistreatment of her and indifference to Christie’s success.

          39.    Ms. DeMartino told Ms. Molino that she felt as though Mr. Marrero was picking

  on her and offering no support to manage the Club’s deficiencies while over 50% of its revenue

  stream was inoperable.

          40.    On December 28, 2021, while Ms. DeMartino was out of the Club for a doctor’s

  appointment, she received a text from a coworker telling her that Mr. Marrero was on site and

  “trying to blame” her for the gymnastics facility’s closure.

          41.    When Ms. DeMartino arrived at work, Mr. Marrero issued her a Performance

  Notice for the Club’s lackluster production since the foam pit’s renovation caused the gym to close

  entirely.

          42.    At this time, Ms. DeMartino was five and a half months pregnant and more

  noticeable.




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             43.   In January 2022, Ms. DeMartino tested positive for Covid-19, and her doctor

  elevated her already high-risk pregnancy to one that was on “extra high alert” due to her age and

  the ongoing stress she had been experiencing at work.

             44.   Mr. Marrero gave Ms. DeMartino a very hard time for needing to take time off

  work due to her Covid -19 diagnosis.

             45.   Mr. Marrero pressured Ms. DeMartino to return to work before she was fully

  recovered, questioned her about how to obtain quicker test results, and even went so far as to

  research and send her information regarding testing centers that were able to expedite testing

  results.

             46.   The Club’s swimming program was also closed during the fall and winter seasons

  due to a broken heater, which rendered the swimming pool inoperable and impacted membership

  sales and revenue for swimming classes that generated a significant portion of Christie’s revenue.

             47.   Around January 24, 2022, Ms. DeMartino learned that Defendant had published a

  job posting for her position on Indeed.com.

             48.   Ms. DeMartino immediately notified Ms. Molino and Mr. Messina of her

  discovery, but neither could explain the posting.

             49.   Ms. DeMartino specifically told Mr. Messina that she believed Mr. Marrero was

  trying to replace her because she was about to take maternity leave, and that it may be time for her

  to hire a lawyer.

             50.   In February 2022, after months of unanticipated closures, the gymnastics facility

  finally reopened.

             51.   With the gym now fully operational, Christie’s was exceeding its monthly

  performance goals.



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         52.       Ms. DeMartino was hopeful that the Club’s success would show Mr. Marrero how

  seriously she took her job and that she was doing everything possible to ensure Christi’s was on

  the path to success.

         53.       Nevertheless, he continued to unfairly scrutinize Ms. DeMartino’s performance and

  her hard work.

         54.       In late February 2022, due to Ms. DeMartino’s “high risk” status, Plaintiff’s doctor

  told her that she would need to visit him twice a week for the remainder of her pregnancy.

         55.       Ms. DeMartino’s due date was seven weeks away, and she would be out on FMLA

  leave after she gave birth.

         56.       She immediately informed HR and Mr. Marrero of her need for this

  accommodation.

         57.       Mr. Marrero responded. “OK,” but his confrontational questions about the

  estimated duration of her appointments and the distance between her doctor’s office and Christie’s

  affirmed his irritation with, and resentment towards, her.

  III.   Ms. DeMartino is Terminated

         58.       On March 1, 2021, less than two weeks after notifying him of her need for a

  pregnancy-related accommodation and eight weeks from her due date, Mr. Marrero conferenced

  Ms. DeMartino into a call with HR and told her they had to let her go for “production” issues.

         59.       Given Ms. DeMartino had just completed a successful month with the reopening of

  the gymnastics facility, she was shocked and lost for words.

         60.       As a General Manager and loyal employee for over a decade, Plaintiff knew that

  employees always received a final performance notice before termination and she never received

  one.



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         61.     Due to her impending maternity leave, however, Defendant elected to terminate

  Plaintiff and immediately fill her position with a male.

                                  FIRST CAUSE OF ACTION
                        (Pregnancy Discrimination in Violation of Title VII)
                              Empire Holdings and Investments, LLC

         62.     Plaintiff repeats, reiterates, and re-alleges the factual allegations set forth in

  Paragraphs 1 through 61, as though fully set forth herein.

         63.     By the actions described above, among others, Empire Holding & Investments,

  LLC, discriminated against Plaintiff because of her pregnancy, including by, inter alia, terminating

  her employment.

         64.     As direct and proximate result of Empire Holding & Investments, LLC’s unlawful

  discriminatory conduct in violation of Title VII, Plaintiff has suffered, and continues to suffer, lost

  wages and benefits and emotional distress, for which she is entitled to an award of monetary

  damages.

         65.     Empire Holding & Investments, LLC’s discrimination was intentional, or engaged

  in with malice and/or with reckless indifference to Plaintiff’s rights for which an award of punitive

  damages will be sought.

         66.     Plaintiff also seeks reasonable attorneys’ fees and expenses as provided for under

  Title VII.

                                  SECOND CAUSE OF ACTION
                               (Retaliation in Violation of Title VII)
                           Against Empire Holdings and Investments, LCC

         67.     Plaintiff repeats, reiterates, and re-alleges the factual allegations set forth in

  Paragraphs 1 through 61, as though fully set forth herein.




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         68.       By the actions described above, among others, Empire Holding & Investments,

  LLC, retaliated against Plaintiff because of her protected complaints about pregnancy

  discrimination, including by, inter alia, terminating her employment.

         69.       As direct and proximate result of Empire Holding & Investments, LLC’s, unlawful

  retaliatory conduct in violation of Title VII and the FCRA, Plaintiff has suffered, and continues to

  suffer, lost wages and benefits and emotional distress for which she is entitled to an award of

  monetary damages.

         70.       Empire Holding & Investments LLC’s discrimination was intentional or engaged

  in with malice and/or reckless indifference to Plaintiff’s rights for which an award of punitive

  damages will be sought.

         71.       Plaintiff also seeks reasonable attorneys’ fees and expenses as provided for under

  Title VII.

                                   THIRD CAUSE OF ACTION
                              (Interference in Violation of the FMLA)
               Against Empire Holdings and Investments, LLC and Juan Carlos Marrero

         72.       Plaintiff repeats, reiterates, and re-alleges each and every allegation in Paragraphs

  1 through 15 and 19 through 61, as though fully set forth herein.

         73.       At all times relevant herein, Plaintiff was an “eligible employee” within the

  meaning of the FMLA because prior to the birth of her child, she would have worked at least 1,250

  hours in any 12-month period.

         74.       At all times relevant herein, Empire Holding & Investments, LLC was a “covered

  employer” within the meaning of the FMLA since it employs 50 or more employees during at least

  20 calendar weeks over the covered period within a 75-mile radius of Plaintiff’s work location.




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          75.    At all times relevant herein, Defendant Juan Carlos Marrero was an individual

  employer under the FMLA because he supervised Plaintiff and had the authority to terminate

  Plaintiff.

          76.    The FMLA makes it unlawful for “any employer to interfere with, restrain, or deny

  the exercise of or attempt to exercise, any right provided under this subchapter.” 29 U.S.C. §

  2615(a)(1).

          77.    The Department of Labor is responsible for enacting regulations to carry out the

  purpose of the FMLA. 29 U.S.C. § 2654.

          78.    The Department of Labor’s enacting regulations provide that (1) “On return from

  FMLA leave, an employee is entitled to be returned to the same position the employee held when

  leave commenced, or to an equivalent position with equivalent benefits, pay, and other terms and

  conditions of employment” 29 C.F.R. § 825.214; and (2) “employers cannot use the taking of

  FMLA leave as a negative factor in employment actions, such as hiring, promotions or disciplinary

  actions. . . .” 29 C.F.R. § 825.220(c).

          79.    In enacting these regulations, the Department of Labor took the position that

  “[a]lthough section 2615(a)(2) of the Act also may be read to bar retaliation (see Bryant v. Dollar

  General Corp., 538 F.3d 394 (6th Cir. 2008)), the Department believes that section 2615(a)(1)

  provides a clearer statutory basis for § 825.220(c)'s prohibition of discrimination and retaliation.”

  The Family and Medical Leave Act of 1993, 73 Fed. Reg. at 67,934, 67,986 (Nov. 17, 2008).

          80.    By the actions described above, Defendants Empire Holding & Investments, LLC

  and Juan Carlos Marrero interfered with Plaintiff’s rights under the FMLA by using her future

  FMLA qualifying leave as a negative factor in the decision to terminate her employment.




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         81.     As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

  violation of the FMLA, Plaintiff has suffered, and continues to suffer, monetary and/or other

  economic harm for which she is entitled to an award of monetary damages, liquidated damages,

  and reasonable attorneys’ fees and expenses.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

  Defendants, containing the following relief:

         A.      A declaratory judgment that the actions, conduct and practices of Defendants

  complained of herein violate the laws of the United States;

         B.      An injunction and order permanently restraining Defendants and their partners,

  officers, owners, agents, successors, employees and/or representatives, and any and all persons

  acting in concert with them, from engaging in any such further unlawful conduct, including the

  policies and practices complained of herein;

         C.      An award of damages against Defendants, or any jointly or severally liable entity

  or person, in an amount to be determined at trial, plus prejudgment interest, to compensate Plaintiff

  for all monetary and/or economic damages, including, but not limited to, an award of back pay and

  loss of benefits through the date of trial and front pay and future loss of benefits if the equitable

  remedies of employment, reinstatement and promotion are not feasible;

         D.      An award of liquidated damages in an amount to be determined at trial;

         E.      An award of punitive damages in an amount to be determined at trial;

         F.      Prejudgment interest on all amounts due;

         G.      An award of Plaintiff’s reasonable attorneys’ fees and costs; and

         H.      Such other and further relief as the Court may deem just and proper.



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                                        JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

  Dated: August 26, 2022
                                                      Respectfully submitted,

                                                      MORGAN & MORGAN, P.A.

                                                      By: _____________________________
                                                             Bryan Arbeit, Bar No. 1010329
                                                             Allison Rattet, Bar No. 1023573

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